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In re CASSAVA SCIENCES, INC. SECURITIES
LITIGATION

                                                                 1:21-cv-00751-DAE

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U.S.D.C. S.D. California                      3/11/2005

U.S.D.C. C.D. California                      4/9/2009

U.S.D.C. N.D. California                      4/15/2005




N/A




N/A




N/A
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                                        UNITED STATES DISTRICT JUDGE
